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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION Coen

vie No
ERIC HUNT and 7 Sigs OBER
ANDREA HUNT Mhrop Ub.
Plaintiffs,
No. 00 C 6591
VS.
Chicago Police Officers HAROLD BONE, Judge Nordberg

#4776; GERALD BREIMON, #16667;
MICHAEL STACK, Star #18480,

ERIC OLSEN, #4494; ARLYN CASSIDY,
#2920; THOMAS DINEEN, #19770;
VICTOR GUITERREZ, #20220; JOHN
BOYLE, #20671; THE CITY OF
CHICAGO, a municipal corporation;
CATHERINE QUINLAN, a Cook County
Assistant State’s Attorney; THE OFFICE
OF THE COOK COUNTY STATE’S
ATTORNEY,

Magistrate Judge Schenkier

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Defendants.
RELEASE AND SETTLEMENT AGREEMENT
Plaintiffs, Eric Hunt and Andrea Hunt, by their attorney, Lawrence V. Jackowiak, and

the defendants City of Chicago, by its attorney, Mara S. Georges, Corporation Counsel of the

 

City of Chicago, and Harold Bone, Gerald Breimon, Michael Stack, Eric Olsen, Artyo
Cassidy, Thomas Dineen, Victor Gutierrez, and John Boyle, by their attorney, Margaret A.
Carey, herein stipulate and agree to the following:

1. This action has been brought by plaintiffs, Eric Hunt and Andrea Hunt, against
defendants, City of Chicago, Harold Bone, Gerald Breimon, Michael Stack, Eric Olsen, Arlyn
Cassidy, Thomas Dineen, Victor Gutierrez, John Boyle and Catherine Quinlan, and makes

certain allegations contained in plaintiffs’ complaint.

 

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2. Defendants deny each and every allegation of wrongdoing as stated in
plaintiffs’ complaint, and further, deny liability.

3. The parties and their respective attorneys acknowledge that settlement of this
claim is not an admission of liability, or of unconstitutional or illegal conduct by or on the part
of any defendant and/or the City of Chicago and/or its future, current or former officers,
agents and employees, and shall not serve as evidence or notice of any wrongdoing by or on
the part of any defendant and/or the City of Chicago and/or its future, current or former
officers, agents and employees. The parties and their respective attorneys further acknowledge
that settlement is made to avoid the uncertainty of the outcome of litigation and the expense in
time and money of further litigation and for the purpose of judicial economy. Plaintiffs and
their attorney agree that they or any firm with which said attorney is affiliated or with which
said attorney may later become affiliated shall not use this settlement as notice of misconduct
on the part of any defendant and/or the City of Chicago and/or its future, current or former
officers, agents and employees, or for any other purpose in any other litigation, and that any
such use is inconsistent with the terms of this Release and Settlement Agreement.

4, In consideration of the hereinafter indicated settlement entered pursuant to this
Release and Settlement Agreement, and upon advice of counsel, plaintiffs, Eric Hunt and
Andrea Hunt, agree to dismiss with prejudice all of their claims against defendants City of
Chicago, Harold Bone, Gerald Breimon, Michael Stack, Eric Olsen, Arlyn Cassidy, Thomas
Dineen, Victor Gutierrez and John Boyle, with each side bearing its own costs and attorneys’

fees.

 

 
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5. Plaintiffs, Eric Hunt and Andrea Hunt, accept a settlement from defendant, City
of Chicago, in the total amount of THIRTY-SIX THOUSAND AND NO/100 ($36,000.00)
DOLLARS, with each side bearing its own costs and attorneys’s fees.

6. The City of Chicago agrees to pay plaintiffs the total settlement amount of
THIRTY-SIX THOUSAND AND NO/100 ($36,000.00) DOLLARS within sixty (60) days
after receipt by the Corporation Counsel's Office of a file-stamped copy of the Agreed Order
of Dismissal. This sum shall be payable solely by the City of Chicago, and plaintiffs and/or
their attorney agree that they will not seek payment from any source other than the City of
Chicago. The settlement check will be made payable to plaintiffs, their attorney, and lien
claimants, if any, of which the City has notice.

7. In consideration of this settlement entered pursuant to this Release and
Settlement Agreement, and upon advice of counsel, plaintiffs agree to indemnify and hold
harmless the City of Chicago, and its future, current, or former officers, agents and employees
including, but not limited to, the individual defendants, Harold Bone, Gerald Breimon,
Michael Stack, Eric Olsen, Arlyn Cassidy, Thomas Dineen, Victor Gutierrez, and John Boyle
from any claims, losses, damages or expenses, including attorneys’ fees and costs, incurred,
or which may be incurred, by reason of any lien or any other claim or interest held by any
person, entity or corporation against any moneys received or to be received by plaintiffs under
this settlement entered pursuant to this Release and Settlement Agreement.

8. Plaintiffs, upon advice of counsel, understand and agree that in consideration of
the settlement entered pursuant to this Release and Settlement Agreement, plaintiffs do hereby
release and forever discharge on behalf of themselves and their heirs, executors, administrators

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and assigns, all claims they had or have against the individual defendants, Harold Bone, Gerald
Breimon, Michael Stack, Eric Olsen, Arlyn Cassidy, Thomas Dineen, Victor Gutierrez, and
John Boyle and the City of Chicago, and its future, current or former officers, agents and
employees, including but not limited to all claims they had, have, or may have in the future,
under local, state, or federal law, arising either directly or indirectly out of the incident which
was the basis of this litigation, and that such release and discharge also is applicable to any and
all unnamed and/or unserved defendants.

9. This Release and Settlement Agreement and any documents that may be
executed under paragraph 12 herein contain the entire agreement between the parties with
regard to the settlement of this action, and shall be binding upon and inure to the benefit of the
parties hereto, jointly and severally, and the heirs, executors, administrators, personal
representatives, successors, and assigns of each.

10. This Release and Settlement Agreement is entered into in the State of Illinois
and shall be construed and interpreted in accordance with its laws. Terms contained herein
shall not be construed against a party merely because that party was the principal drafter.

11. Inentering into this Release and Settlement Agreement, plaintiffs represent that
they have relied upon the advice of their attorney, who is the attorney of their own choice, and
that the terms of this Release and Settlement Agreement have been interpreted, completely read
and explained to them by their attorney, and that those terms are fully understood and
voluntarily accepted by plaintiffs. Plaintiffs also represent and warrant that no other person or
entity has or has had any interest in the claims or causes of action referred to herein, that they
and their attorney have the sole right and exclusive authority to execute this Release and

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Settlement Agreement and receive the sums specified herein, and that they have not sold,
assigned, transferred, conveyed, or otherwise disposed of any of the claims or causes of action
referred to herein.

12. All parties agree to cooperate fully and to execute a Stipulation to Dismiss and
any and all supplementary documents and to take all additional actions which are consistent
with and which may be necessary or appropriate to give full force and effect to the basic terms

_and intent of this Release and Settlement Agreement.

City of Chicago
a Municipal Corporation

x £ : A. Afzal Mara S. Georges

x # Hunt, plaintiff Corporation Counsel

Attorney, for City of Chicago
Address: 5 29 FT i) apps; flat
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Catherine M. Kel

~ Date of birth: ifs [749 Assistant Corporation Counsel
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Andrea Hunt, plaintiff . Margaret ‘A. Carey
Senior Counsel

Address: 9 2.3 7 UW Kon pain huury Attorney for defendants: Harold Bone,
v Gerald Breimon, Michael Stack, Eric

Oslen, Arlyn Cassidy, Thomas Dineen,

 

 

Date of birth: 6 7-9 7-79 Victor Gutierrez and John Boyle
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DATE:

 
